Case 1:18-md-02865-LAK   Document 1026-3   Filed 05/31/24   Page 1 of 7




                  Exhibit 3
            Case 1:18-md-02865-LAK              Document 1026-3            Filed 05/31/24          Page 2 of 7




                                                                                                    27 June 2012



         To:
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         PO Box 506699
         Dubai
         United Arab Emirates




         DANISH TAX OPINION



         1        INTRODUCTION

                  This opinion (the "Opinion") has been prepared at the request of Solo Capital Partners LLP.

                  The Opinion considers the Danish tax implications of certain transactions over Danish listed
                  equities entered into by a United States pension fund ("USPF").

        2         SCOPE

                  The Opinion considers the Danish tax implications for USPF of the contemplated
                  transactions. The Opinion does not consider the potential tax implication for any
                  counterparties to the contemplated transactions.

        3         CONTEMPLATED TRANSACTIONS

                  DSPF contemplates to make the following transactions:
                  1)       USPF purchases Danish exchange traded equities (the "EqUities'') (either via a
                           regulated inter-dealer broker or via purchasing Eurex single-stock, physically
                           delivered listed flex future contracts regarding the relevant Equities);

                  2)       The purchase of the Equities will take place prior to the ex-dividend date but no
                           later than the dividend approval date meaning the date where the dividend is finally
                           approved for distribution (generally meaning the date of the annual general
                           shareholder's meeting) ("Dividend Approval Date"). The settlement date for the
                           purchase of the Equities will be on or after the dividend record date. In the case of
                           physically delivered listed futures contracts, the expiry date of the futures contract
                           ,viii be no later than the Dividend Approval Date;

                  3)       USPF will receive the dividend which has been declared on the Equities on
                           Dividend Approval Date (the "Danish Dividend");


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CONFIDENTIAL                                                                                                   JHVM_0009136
         Case 1:18-md-02865-LAK              Document 1026-3            Filed 05/31/24         Page 3 of 7




                4)       On purchase of the Equities, USPF will hedge its long exposure on the Equities by
                         selling exchange-traded, cash-settled single stock futures over the Equities (the
                         "Short Derivative"). The price of the Short Derivative will take into account a
                         proportion of the expected Danish Dividend in calculating the strike price of the
                         Short Derivative but no adjustment will be made if the actual dividend amount iS
                         more or less than the expected dividend amount;

                5)       On or after the ex-dividend date USPF will sell the Equities via an inter-dealer
                         broker. The settlement date for the sale of the Equities will be the same date as the
                         settlement date of the purchase of the Equities in 2) above. At the same time, USPF
                         will enter into a long futures position over the Equities in order to close out the
                         short futures position created in step 4 above The long futures position will expire
                         on the same date as the short futures position created in step 4 above;

                6)       lt is possible that in the period until sale, the Equities would be lent out under a
                         stock loan (using a standard Global Master Securities Lending Agreement) to an
                         unrelated party (which could be located in any jurisdiction) in order to minimize
                         financing costs. The period of the stock loan is not expected to exceed 3 months
                         and the stock loan would be cash collateralised. The stock loan tmnsaction may be
                         entered illto on or after dividend record date (with settlement of the stock loan
                         occurring on the same day) but always after Dividend Approval Date and the
                         borrower of the Equities would not receive any dividend on the Equities.

         4      ASSUMPTIONS

                For the purpose ofthis Opinion, we have assumed that:

                1)       USPF is a tax resident of the United States;

                2)       USPF does not have a permanent establishment in Denmark;

                3)       Dividends received by USPF on the Equities are not derived from the carrying on
                         of a business by USPF or through an associated enterprise;

                4)       USPF is comprised by Article 22 (2)(e) of the Denmark - US double tax treaty
                         currently in force (the "Denmark - US Tax Treaty") entailing that USPF is:

                         a)       A legal person organised under the laws of the United States to provide
                                  pension or other similar benefits to employees, including self-employed
                                  individuals, pursuant to a plan; and

                         b)       more than 50 percent of USPF's beneficiaries, members or participants
                                  are individuals resident in either the United States or Denmark;

                5)       On purchase of the Equities, USPF will obtain unconditional ownership to the
                         Equities and will have full ownership rights over the Equities on Dividend
                         Approval Date including the right to receive the dividend declared on that date;

                6)       The Equities will be held by USPF through a custodian. USPF's ownership to the
                         Equities will be recorded with the custodian and, depending upon the custodian's
                         and sub-custodian's other long and short positions, the Danish Securities Centre;

                7)      The custodian's records will show that USPF is the legal and the beneficial owner
                        of the Equities on Dividend Approval Date and that the Danish Dividend represents
                        a real dividend on the Equities which is passed on to USPF by the custodian.



        Cl7634277.1                                                                                     2 (6)



CONFIDENTIAL                                                                                              JHVM_0009137
          Case 1:18-md-02865-LAK             Document 1026-3             Filed 05/31/24         Page 4 of 7




         5      OPINION

                Based on the facts and assumptions outlined in Section 3 and Section 4 above we are of the
                opinion that:

                1)        The contemplated transactions over the Equities should not attract any Danish tax
                          other than withholding tax on dividends distributed on the Equities;

                2)        USPF should be entitled to claim a full refund of the Danish dividend withholding
                          imposed on the Equities pursuant to the Denmark - US Tax Treaty.

         6      APPLICABLE DANISH TAX RULES

         6.1    Tax treatment of outbound dividends
                Dividends distributed by a Danish company are as a general mle subject to tax in the hands
                of the person or entity which is registered as the holder of the dividend paying shares on
                Dividend Approval Date.

                If the holder of the dividend paying shares is a foreign person or entity, the dividend is as a
                point of departure subject to Danish withholding tax at the rate of 27 percent.

                However, certain exemptions exist according to which certain foreign shareholders may be
                entitled to a full or partial exemption from Danish dividend withholding tax.

                A US resident pensi011 fund is entitled toa full exemption from Danish dividend withholding
                tax if the pension fund satisfies the following conditions set out in Article 10(3)(c) and
                Article 22(2)(e) of the Denmark - US Tax Treaty:

                1)       The US pension fund is a residentin the US fortaxpurposes;

                2)       The US pension fund is the beneficial owner of the dividend;

                3}       The dividends concerned are not derived from the carrying on of a business by the
                         US pension fund or through an associated enterprise; and

                4)       The US pension fund is a legal entity organised under the laws of the United States
                         to provide pension or other similar benefits to employees, including self-employed
                         individuals, pursuant to a plan and more than 50 percent of the pension fund's
                         beneficiaries, members or participants are individuals resident in either the United
                         States or Denmark.

                A US pension fund which meets the above conditions will be entitled to a full exemption
                from Danish withholding tax on Danish source dividends.

                The exemption is, however, not granted at source and the dividend distributing Danish entity
                must withhold tax from the dividend (at the standard rate of 27 percent) irrespective of the
                exemption. To obtain the exemption, a US pension fund must file a refund claim with the
                Danish tax authorities as described in Section 6.2 below,




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CONFIDENTIAL                                                                                              JHVM_0009138
          Case 1:18-md-02865-LAK               Document 1026-3             Filed 05/31/24         Page 5 of 7




                  The condition of beneficial ownership

                  As transpires from the above, the entitlement to exemption from Danish dividend
                  withholding tax pursuant to the Denmark - US Tax Treaty requires, inter alia, that the US
                  pension fund qualifies as the beneficial owner of the dividend.

                  The concept of beneficial ownership does not exist under Danish domestic law and no
                  fonnal distinction is thus made under Danish law between beneficial and legal ownership to
                  shares and dividends received thereon. The general view is therefore that the condition of
                  beneficia] ownership must be understood in accordance with the treaty meaning of the term.
                  The Danish tax authorities have so far based their interpretation of the beneficial ownership
                  condition on the guidance provided in OECD commentary to the dividend and interest
                  provisions in the OECD model tax treaty.

                  The Danish tax authorities have questioned a number of dividend withholding tax claims on
                  the ground that the foreign dividend recipient is not the kneficial owners of the dividend
                  and therefore is not entitled to treaty benefits. Such claims have however only been raised in
                  cases where dividends have been paid to an intennediary parent/holding company which is
                  controlled by an investor in an offshore jurisdiction. The Danish tax authorities have taken
                  the position that such holding companies must be regarded as pure conduit companies which
                  cannot be regarded as the beneficial owner ofthe dividends received.

                 So far, the Danish tax authorities have not denied exemption from Danish withholding tax on
                 dividends paid to other entities than intermediary holding companies and we have seen no
                 indication that they would consider to broaden the application of the beneficial owner
                 condition to other categories of shareholders.

                 A recent ruling issued by the Swiss Federal Administrative Tribunal strongly suggest that the
                 beneficial 0"\\,'tler condition found in tax treaties cannot be applied to deny exemption from
                 dividend withholding tax on the ground that the dividend recipient has entered into a
                 derivative transaction over the concerned shares.

         6.2     Procedure for refund of Danish dividend withholding tax

                 To obtain exemption from Danish dividend withholding tax pursuant to the Denmark - US
                 Tax Treaty, a US Pension fund must file a claim for refund of the tax amount withheld with
                 the Danish tax authorities. A special form exist (form# 06.003) which must be used for this
                 purpose. The form is attached to the Opinion. The form is also available from the Danish tax
                 authorities,. website.

                 The claim for refund must be accompanied by documentation showing that the US Pension
                 fund is a tax resident of the United States. Furthemmre, the US pension fund must submit
                 documentation evidencing that the US Pension fund satisfies the conditions stipulated in
                 Article 22(2)(e) of the Denmark - US Tax Treaty.

                 The refund process usually takes one month. A right to interest compensation will arise if the
                 withholding tax amount is not refunded by the Danish tax authorities within six months from
                 the filing of the claim. In such event interest compensation is offered at a rate of 0.5 percent
                 per month for the time exceeding the six month period.

         6.3     Tax treatment of capital gains on equities

                 Foreign shareholders are unconditionally exempt from Danish taxation of capital gains on
                 Danish equities.




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CONFIDENTIAL                                                                                                 JHVM_0009139
          Case 1:18-md-02865-LAK              Document 1026-3             Filed 05/31/24         Page 6 of 7




                Consequently, neither the holding nor the sale of Danish equities by a foreign shareholder
                will give rise to Danish capital gains taxation.

                 This also means that the entering into of a stock loan transaction over Danish equities will
                 not give rise to capital gains taxation of the foreign lender or fore ign borrower of the stock.

         6.4     Tax treatment of stock futures transactions

                 A stock futures transaction over Danish equities does not give rise to Danish taxation of a
                 foreign resident party to the transaction.

         6.5    Transfer taxes

                No stamp duty or other Danish transfer taxes applies to any transaction over Danish equities.

         7      ANALYSIS

         7.1    Danish dividend withholding tax

                Based on our understanding that USPF will have full ownership rights over the Equities on
                 Dividend Approval Date and that USPF would only lend out the Equities after Dividend
                Approval Date with no dividend rights attached, we believe that USPF must be considered
                the recipient oftbe Danish Dividend from a Danish domestic law perspective.

                Consequently, we find that the Danish Dividend should be taxed in the hands of USPF.

                USPF would, however, be entitled to a full exemption from Danish withholding tax if the
                conditions set out in Article 10(3)(c) and Article 22(2)(e) of the Denmark - US Tax Treaty
                are met. Based on the facts and assumptions set out in Section 3 and Section 4 above, we
                find that USPF must be considered to meet these conditions.

                With respect to the condition of beneficial ownership we note the following:

                •         USPF will not be legally obligated to pay any portion of the Danish Dividend to
                          any person;

                •         The price of the Short Derivative will take into account a proportion of the
                          expected Danish Dividend in calculating the strike price of the Short Derivative but
                          no adju stment will be made if the actual dividend amount is more or less than the
                          expected dividend amount;

                •         The obligations under the Short Derivative exist and must be fulfilled by USPF
                          regardless ofwhether USPP acquires the Danish Shares.

                Under these circumstances, we find that USPF should be regarded as the beneficial owner of
                the Danish Dividend for the purpose of the Denmark - US Tax Treaty. Consequently, we
                find that USPF should be entitled to full exemption frotn Danish withholding tax on the
                Danish Dividend.

                However, to obtain the exemption, USPF must submit a claim for refund to the Danish tax
                authorities which is accompanied by documentation showing that USPF is a tax resident of
                the United States and further showing that the conditions stipulated in Article 22(3)(e) of the
                Danish - US Tax Treaty are met. This means that USPF must submit documentation
                showing that USPF is a legal entity organized under US laws for the purposes of providing
                pension benefits to employees or self-employed individuals and that more than 50 percent of
                its members or beneficiaries will be individuals residing in United States or in Denmark.


        Cl7634277.l                                                                                        5 (6)



CONFIDENTIAL                                                                                                JHVM_0009140
         Case 1:18-md-02865-LAK              Document 1026-3             Filed 05/31/24         Page 7 of 7




         7.2    Other Danish tax implications of the contemplated transactions

                No other Danish taxes should apply to contemplated transactions and the contemplated
                transactions should therefore not give rise to any other Danish tax implications than the
                withholding and subsequent claim for refund of Danish tax on the Danish Dividend.

                For the avoidance of doubt, it is noted that the issue of bank charges or similar charges
                resulting from the registration of title with the Danish Securities Centre or equivalent foreign
                depository is not considered.

         8      GOVERNING LAW Ai~D JURISDICTION

                This Opinion shall be governed and construed in accordance with Danish law and any
                dispute arising out of or in connection with this Opinion shall be subject to the exclusive
                jurisdictions of the Danish courts.

         9      RELIANCE

                This Opinion is rendered solely for your benefit and may only be relied upon by you in the
                very matter and context specified herein.

                This Opinion may not, without our prior -.vritten consent, be disclosed to any other person
                save that it may be disclosed without such consent to your legal counsel.

                We are not assuming any obligation to notify you of any changes to the opinions expressed
                herein as a result of any facts or circumstances that may come to our attention in the future
                or as a result of any change in the laws of Denmark which may hereafter occur.




               0~, /
                Nikolaj Bj0rnholm




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